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 Our File No. 92265 ELH

 TONI ANN PALMISANO                      UNITED STATES DISTRICT COURT-
                                         DISTRICT OF NEW JERSEY
              Plaintiff,                 CIVIL ACTION NO.: 2:22-CV-03905-
                                         ES-LDW
 V.

 SECAUCUS BOARD OF EDUCATION;                        Civil Action
 JENNIFER MONTESANO,
 SUPERINTENDENT OF SCHOOLS,              CONSENT ORDER EXTENDING TIME
 JOHN AND JANE DOES 1-10; ABC              FOR DEFENDANTS SECAUCUS
 CORPORATIONS 1-10                          BOARD OF EDUCATION AND
                                            JENNIFER MONTESANO TO
              Defendants                  ANSWER OR OTHERWISE PLEAD



       THIS MATTER having come before the Court by Methfessel &

 Werbel, Esqs., attorneys for Secaucus Board of Education and Jennifer

 Montesano, and Michael A. D'Aquanni, Esq. , affixing his consent hereto,

       IT IS on this 21st   day of     July        ; 2022

       ORDERED that Defendants Secaucus Board of Education and

 Jennifer Montesano are permitted to file and serve their answer or to

 otherwise plead on or before August 19, 2022; and it is further

       ORDERED that a copy of this Order shall be deemed served by the

 uploading of this Order via electronic filing.
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                                    _______________________________
                                    Hon. Leda Dunn Wettre, U.S.M.J.

 I HEREBY CONSENT TO THE FORM
 AND ENTRY OF THE WITHIN ORDER.



 /s/Michael D’Aquanni
 Michael A. D'Aquanni, Esq.
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